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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

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&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;0&lt;/A&gt;-00&lt;A NAME="2"&gt;706&lt;/A&gt;-CR&lt;/CENTER&gt; 

 

 

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&lt;CENTER&gt;&lt;A NAME="3"&gt;Richard Mayorga, III&lt;/A&gt;, Appellant&lt;/CENTER&gt; 

 

 

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt; 

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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;COMAL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;22ND&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;CR99-057&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JACK ROBISON&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

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Appellant Richard Mayorga, III, pleaded guilty to engaging in deadly conduct as a 

member of a criminal street gang. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. Penal Code Ann. &nbsp;71.02(a)(1) (West Supp. 2001); &lt;EM&gt;see 

also id&lt;/EM&gt;. &nbsp;22.05(b)(2) (West 1994). &nbsp;The district court assessed punishment at imprisonment for ten 

years as called for in a plea bargain agreement. &nbsp;We will reverse and remand for a new trial. 

 

&lt;P&gt;After obtaining new counsel, appellant filed a motion for new trial complaining that 

he did not knowingly and voluntarily plead guilty because of ineffective assistance of trial counsel. 

Following a hearing, the court orally announced that it was granting the motion for new trial and 

made a written entry to that effect on its docket, but the court's ruling was never incorporated into 

a written order. &nbsp;As a consequence, the motion was overruled by operation of law seventy-five days 

after sentence was imposed. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 21.8(c) (motion not timely ruled on by written 

order will be deemed denied); &lt;EM&gt;see also State v. Garza&lt;/EM&gt;, 931 S.W.2d 560, 562 (Tex. Crim. App. 1996) 

(neither oral announcement nor docket entry constitutes "written order").&lt;/P&gt; 

 

&lt;P&gt;Appellant asked for and was given the district court's permission to appeal the 

overruling of his motion for new trial by operation of law. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 25.2(b)(3)(C). &nbsp;He 

asks this Court to grant him a new trial since that was clearly the intent of the district court. &nbsp;An 

appellate court may not retroactively suspend rule 21.8 to alter the course of events below. &nbsp;&lt;EM&gt;Garza&lt;/EM&gt;, 

931 S.W.2d at 563. &nbsp;We are not authorized to grant appellant's motion for new trial after it was 

overruled by operation of law. &nbsp;&lt;EM&gt;Id&lt;/EM&gt;.&lt;/P&gt; 

 

&lt;P&gt;We believe, however, that the district court's permission to appeal the overruling of 

appellant's motion for new trial by operation of law authorizes us to review present counsel's 

responsibility for that result. &nbsp;The district court announced that it was granting the motion for new 

trial on August 17, 2000. &nbsp;Counsel's failure to prepare a written order for the judge's signature before 

October 2, when the motion was overruled by operation of law, &lt;SPAN STYLE="font-family: Times New Roman"&gt;was unreasonable under prevailing 

professional &lt;/SPAN&gt;norms and such a serious error that he was not functioning effectively as counsel. &nbsp;&lt;EM&gt;See 

Strickland v. Washington&lt;/EM&gt;, 466 U.S. 668, 687 (1984);&lt;EM&gt; Hernandez v. State&lt;/EM&gt;, 726 S.W.2d 53, 57 (Tex. 

Crim. App. 1986) (adopting &lt;EM&gt;Strickland&lt;/EM&gt;). &nbsp;The prejudice to appellant is obvious: but for counsel's 

deficient performance, his motion for new trial would have been granted. &nbsp;&lt;EM&gt;See Strickland&lt;/EM&gt;, 466 U.S. 

at 689. &nbsp;If sufficiently egregious, a single error by counsel may constitute ineffective assistance. &nbsp;

&lt;EM&gt;Thompson v. State&lt;/EM&gt;, 9 S.W.3d 808, 813 (Tex. Crim. App. 1999).&lt;/P&gt; 

 

&lt;P&gt;Having found that appellant's motion for new trial would have been granted but for 

counsel's ineffectiveness, we reverse the judgment of conviction and remand for a new trial.&lt;/P&gt; 

 

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&lt;P&gt;				__________________________________________&lt;/P&gt; 

 

&lt;P&gt;				Lee Yeakel, Justice&lt;/P&gt; 

 

&lt;P&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/P&gt; 

 

&lt;P&gt;Reversed and Remanded&lt;/P&gt; 

 

&lt;P&gt;Filed: &nbsp;&nbsp;June 7, 2001&lt;/P&gt; 

 

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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

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&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;0&lt;/A&gt;-00&lt;A NAME="2"&gt;706&lt;/A&gt;-CR&lt;/CENTER&gt; 

 

 

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&lt;CENTER&gt;&lt;A NAME="3"&gt;Richard Mayorga, III&lt;/A&gt;, Appellant&lt;/CENTER&gt; 

 

 

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt; 

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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;COMAL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;22ND&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;CR99-057&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JACK ROBISON&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

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&lt;/STRONG&gt;&lt;/P&gt; 

 

 

 

Appellant Richard Mayorga, III, pleaded guilty to engaging in deadly conduct as a 

member of a criminal street gang. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. Penal Code Ann. &nbsp;71.02(a)(1) (West Supp. 2001); &lt;EM&gt;see 

also id&lt;/EM&gt;. &nbsp;22.05(b)(2) (West 1994). &nbsp;The district court assessed punishment at imprisonment for ten 

years as called for in a plea bargain agreement. &nbsp;We will reverse and remand for a new trial. 

 

&lt;P&gt;After obtaining new counsel, appellant filed a motion for new trial complaining that 

he did not knowingly and voluntarily plead guilty because of ineffective assistance of trial counsel. 

Following a hearing, the court orally announced that it was granting the motion for new trial and 

made a written entry to that effect on its docket, but the court's ruling was never incorporated into 

a written order. &nbsp;As a consequence, the motion was overruled by operation of law seventy-five days 

after sentence was imposed. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 21.8(c) (motion not timely ruled on by written 

order will be deemed denied); &lt;EM&gt;see also State v. Garza&lt;/EM&gt;, 931 S.W.2d 560, 562 (Tex. Crim. App. 1996) 

(neither oral announcement nor docket entry constitutes "written order").&lt;/P&gt; 

 

&lt;P&gt;Appellant asked for and was given the district court's permission to appeal the 

overruling of his motion for new trial by operation of law. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 25.2(b)(3)(C). &nbsp;He 

asks this Court to grant him a new trial since that was clearly the intent of the district court. &nbsp;An 

appellate court may not retroactively suspend rule 21.8 to alter the course of events below. &nbsp;&lt;EM&gt;Garza&lt;/EM&gt;, 

931 S.W.2d at 563. &nbsp;We are not authorized to grant appellant's motion for new trial after it was 

overruled by operation of law. &nbsp;&lt;EM&gt;Id&lt;/EM&gt;.&lt;/P&gt; 

 

&lt;P&gt;We believe, however, that the district court's permission to appeal the overruling of 

appellant's motion for new trial by operation of law authorizes us to review present counsel's 

responsibility for that result. &nbsp;The district court announced that it was granting the motion for new 

trial on August 17, 2000. &nbsp;Counsel's failure to prepare a written order for the judge's signature before 

October 2, when the motion was overruled by operation of law, &lt;SPAN STYLE="font-family: Times New Roman"&gt;was unreasonable under prevailing 

professional &lt;/SPAN&gt;norms and such a serious error that he was not functioning effectively as counsel. &nbsp;&lt;EM&gt;See 

Strickland v. Washington&lt;/EM&gt;, 466 U.S. 668, 687 (1984);&lt;EM&gt; Hernandez v. State&lt;/EM&gt;, 726 S.W.2d 53, 57 (Tex. 

Crim. App. 1986) (adopting &lt;EM&gt;Strickland&lt;/EM&gt;). &nbsp;The prejudice to appellant is obvious: but for counsel's 

deficient performance, his motion for new trial would have been granted. &nbsp;&lt;EM&gt;See Strickland&lt;/EM&gt;, 466 U.S. 

at 689. &nbsp;If sufficiently egregious, a single error by counsel may constitute ineffective assistance. &nbsp;

&lt;EM&gt;Thompson v. State&lt;/EM&gt;, 9 S.W.3d 808, 813 (Tex. Crim. App. 1999).&lt;/P&gt; 

 

&lt;P&gt;Having found that appellant's motion for new trial would have been granted but for 

counsel's ineffectiveness, we reverse the judgment of conviction and remand for a new trial.&lt;/P&gt; 

 

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;				__________________________________________&lt;/P&gt; 

 

&lt;P&gt;				Lee Yeakel, Justice&lt;/P&gt; 

 

&lt;P&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/P&gt; 

 

&lt;P&gt;Reversed and Remanded&lt;/P&gt; 

 

&lt;P&gt;Filed: &nbsp;&nbsp;June 7, 2001&lt;/P&gt; 

 

&lt;P&gt;Do Not Publish&lt;/P&gt; 

 

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